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OAO 245B       NNY(Rev. 10/05) Judgment in a Criminal Case
               Sheet 1



                                         UNITED STATES DISTRICT COURT
                          Northern                                   District of                                  New York
          UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                              V.

                       Teresa Grady                                          Case Number:                     3:05-CR-00073-004
                                                                             USM Number:                02405-052
                                                                             Teresa Grady, Pro Se, 105 Second Street, Ithaca, NY 14850
                                                                             (607) 277-8637
                                                                             Defendant’s Attorney
THE DEFENDANT:
G pleaded guilty to count(s)
G pleaded nolo contende re to count(s)
   which was accepted by the court.

X was found guilty on count(s)           2 and 3 of the Indictment on September 26, 2005
   after a plea of no t guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of O ffense                                                         Offense Ended                 Count

18 USC, § 1361                     Damaging Government Pro perty                                                  3/17/2003                    2
18 USC, § 1382                     Entering a Military Station for Unlawful Purposes                              3/17/2003                    3

       The defendant is sentenced as provided in pages 2 through                    5       of this judgment. The sentence is imposed in accordance
with 18 U .S.C. § 35 53 and the Sentencing G uidelines.

X The defendant has been found not guilty on count(s)                 1

G Count(s)                                                   G is     G are dismissed o n the motion o f the United States.
        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing a ddress until all fines, restitution, costs, and sp ecial assessments imp osed by this jud gment are fully paid. If ordered to pay restitution,
the defenda nt must notify the court and U nited States attorney of material changes in eco nomic circumstances.

                                                                             January 27, 2006
                                                                             Date of Imposition of Judgment




                                                                             January 27, 2006
                                                                             Date
MLB/cml
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AO 245B       NNY(Rev. 10/05) Judgment in a Criminal Case
              Sheet 2 — Imprisonment

                                                                                                            Judgment — Page   2       of       5
DEFENDANT:                       Teresa Grady
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                                                                IMPRISONMENT

          The defendant is hereb y com mitted to the custody o f the United S tates B ureau of Prisons to be imprisoned for a total term of:


                      4 months on each of counts 2 and 3, to be served concurrently


     G    The court makes the following recommen dations to the B ureau of P risons:




     X    The defendant is rema nded to the custod y of the U nited S tates M arshal.

     G    The defendant shall surrender to the United States M arshal for this district:

          G      at                                   G a.m.        G p.m.         on                                             .

          G      as notified by the United States M arshal.

     G    The defendant shall surrender for service o f sentence at the institution designated by the B ureau of P risons:

          G      before 2 p.m. on                                              .

          G      as notified by the United States M arshal.

          G      as notified by the Probation or Pretrial Services Office.



                                                                       RETURN
I have exec uted this judgment as follows:




          Defendant delivered on                                                                to

at                                                      , with a certified co py of this ju dgm ent.




                                                                                                          UNITED STATES MARSHAL


                                                                                By
                                                                                                       DEPUTY UNITED STATES MARSHAL
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AO 245B       NNY(Rev. 10/05) Judgment in a Criminal Case
              Sheet 3 — Supervised Release
                                                                                                               Judgment—Page       3     of         5
DEFENDANT:                    Teresa Grady
CASE NUMBER:                  3:05-CR-00073-004
                                                            SUPERVISED RELEASE
Upon release fro m imp risonm ent, the defendant shall b e on su pervised release for a term of:


            No term of supervised release to follow


     The defendant must rep ort to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the B ureau of P risons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a co ntrolled substance . The defendant shall refrain from an y unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

G        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future substance
         abuse. (Check, if ap plicab le.)

x        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

x        The defendant shall co ope rate in the collection of D NA as directed b y the pro bation officer. (Deselect, if inap plicab le.)

G        The defendant shall register with the state sex offender registration agency in the state whe re the d efendant resid es, works, or is a student,
         as directed b y the pro bation officer. (Check, if app licable.)

G        The defendant shall pa rticipate in an ap proved program for do mestic violence. (Check, if applica ble.)
     If this judgment imposes a fine or restitution, it is a cond ition of supervised release tha t the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.
     The defendant must co mply with the standard cond itions that have b een adop ted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall rep ort to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defenda nt shall support his or her d epend ents and me et other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten d ays prio r to any change in resid ence or em ploym ent;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted o f a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation o fficer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          perm ission of the cou rt;
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement; and
 14)      the defendant shall not possess a firearm, destructive device, or any other dangerous weapon.
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AO 245B   NNY(Rev. 10/05) Judgment in a Criminal Case
          Sheet 5 — Criminal Monetary Penalties
                                                                                                         Judgment — Page       4     of         5
DEFENDANT:                       Teresa Grady
CASE NUMBER:                     3:05-CR-00073-004
                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                                           Fine                                    Restitution
TOTALS            $ 35.00                                              $ 150.00                                $ 958.00



G   The determination of re stitution is de ferred until                   . An Am ended Jud gment in a Crim inal Case (AO 245 C) will
    be entered after such determination.

G   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approxim ately pro portioned paym ent, unless spec ified otherwise in
    the priority order or percentage payment column below. Ho wever, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be p aid
    before the United States is paid.

Name of Payee                                           Tota l Loss*                   Restitution Ordered                 Priority or Percentage

New Plan Realty                                           $ 958.00                                  $ 958.00




TOTALS                              $                       958.00             $                      958.00


G    Restitutio n amo unt ord ered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $ 2,50 0, unless the restitutio n or fine is paid in full before the fifteenth
     day after the date of the judgment, pursuant to 18 U.S.C. § 36 12(f). All of the payment options on Sheet 6 may be subject to penalties for
     delinquency and default, pursuant to 18 U.S.C. § 3612 (g).

G    The cou rt determined that the defendant do es not have the ability to p ay interest and it is ordered that:

     G the interest requirement is waived for the               G fine     G    restitution.

     G the interest requirement for the         G        fine    G     restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B    NNY(Rev. 10/05) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                            Judgment — Page      5      of        5
DEFENDANT:                  Teresa Grady
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                                                     SCHEDULE OF PAYMENTS
Having assessed the de fendant’s ability to pay, payment of the total criminal monetary penalties are due as follow s:

A    X    In full immediately; or

B    G    Lump sum payment of $                               due immediately, balance due

          G     not later than                                    , or
          G     in acco rdance with   G    D,    G       E,   G     F, or     G G below; or
C    G    Payment to begin immediately (may be combined with                G D,      G   E, or       G    G below); or

D    G    Payment in equal                  (e.g., weekly, mo nthly, quarterly) installm ents of $                        over a period of
                      (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

E    G    Payment in equal                   (e.g., weekly, mo nthly, quarterly) installm ents of $                      over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

F    G    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

G    G    Special instructions regarding the paym ent of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment impo ses imp risonm ent, payment of criminal monetary penalties is due during
imprisonm ent. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Resp onsibility Program, are made to Lawrence K. Baerman, Clerk, U.S. District Court, Federal Bldg., P.O. Box 7367, 100 S. Clinton
Street, Syracuse, N.Y. 13261-7367, unless otherwise directed by the court, the probation officer, or the United States attorney. If a victim
cannot be located, the restitution paid to the Clerk of the Court for that victim shall be sent to the T reasury, to be retrieved if and when the victim
is located.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

X    Joint and Several

     X    Defendant and Co-De fendant Names and C ase Numbe rs (including defendant number), Total Amo unt, Joint and Several Amount, and
          corresponding payee, if appropriate.

          Peter DeMott, 3:05-CR-00073-001, Clare Grady, 3:05-CR-00073-002 and Daniel Burns, 3:05-CR-00073-003
     G    The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or part
          of the restitution ordered herein and may order such payment in the future.


G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G    The defendant shall forfeit the defendant’s interest in the following prope rty to the United States:

Paym ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,(5) fine
interest, (6) comm unity restitution, (7) penalties, and (8) costs, including co st of prosecution and court costs.
